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                           UNITED STATES DISTRICT COURT
                                                MIDDLE DISTRICT OF FLORIDA
                                                     TAMPA DIVISION

UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE

                                                              CASE NUMBER: 8:05-cr-527-T-23MAP
                                                              USM NUMBER: 48403-018
VS.


BRYAN TIMOTHYLEENARD SMITH
                                                              Defendant's Attorney: Thomas H. Ostrander, cja

THE DEFENDANT:

X was found guilty on Counts One, Six, Seven, Nine, Ten, Eleven, and Twelve of the Superseding Indictment after a plea of not
guilty.

TITLE & SECTION                    NATURE OF OFFENSE                            OFFENSE ENDED                      COUNT

18 U.S.C. 5 1951                   Conspiracy to Obstruct Commerce by           December 2, 2005                    1s
                                   Robbery

18 U.S.C. $5 1951 and 2            Obstruction of Commerce by Robbery           November 27, 2005                  6s

18 U.S.C. $5 924(c)(l)(A)          Carrying a Firearm, Which was a              November 27, 2005                  7s
924(c)(l)(A)(iii), and 2           Discharged During and in Relation
                                   to a Crime of Violence

                  **SEE NEXT PAGE FOR CONTINUATION OF OFFENSES OF CONVICTION**


        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.




IT IS FURTHER ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully
paid.

If ordered to pay restitution, the defendant must notify the court and United States Attorney of any material change in economic
circumstances.


                                                                                Date of Imposition of Sentence: August 3 1, 2006




                                                                                                                                   I
                                                                                     STEVEN D. MERRYDAY
                                                                                UNITED STATES DISTRICT JUDGE

                                                                                DATE: September
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A 0 245B (Rev 06/05) Sheet 1A -Judgment in a Criminal Case
Defendant:          BRYAN TIMOTHYLEENARD SMITH                                                 Judgment - Page 2of 6
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                                         **CONTINUATION OF OFFENSES OF CONVICTION**

18 U.S.C. $9 1951 and 2                  Obstruction of Commerce by Robbery      November 27, 2005


18 U.S.C. $8 924(c)(l)(A),               Carrying a Firearm, Which was           November 27, 2005
924(c)(l)(A)(ii), and 2                  Brandished, During and in Relation to
                                         a Crime of Violence

18 U.S.C. $4 1951 and 2                  Attempted Obstruction of Commerce by    December 2, 2005
                                         Robbery

18 U.S.C. $5 924(c)(l)(A),               Carrying a Firearm, Which was           December 2, 2005
924(c)(l)(A)(iii), and 2                 Discharged and in Relation to a Crime
                                         of Violence

X The defendant has been found not guilty on Counts Two, Three, Four, and Five of the Superseding Indictment
-
X Counts One through Eleven of the underlying Indictment and Count Eight of the Superseding Indictment are dismissed on the
-
motion of the United States.
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A 0 245B (Rev 06/05) Sheet 2 - Imprisonment (Judgment in a Criminal Case)
Defendant:           BRYAN TIMOTHYLEENARD SMITH                                                              Judgment - Page 3of 6
Case No. :           8:05-cr-527-T-23MAP

                                                                IMPRISONMENT

                The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of ONE THOUSAND SIX HUNDRED EIGHTY (1,680) MONTHS.

                     The term consists of:
                     Two hundred forty (240) months as to Counts One, Six, Nine, and Eleven
                     One hundred twenty (120) months as to Count Seven, and
                     Three Hundred (300) months as to Counts Ten and Twelve; all such terms to run consecutively.



X The court makes the following recommendations to the Bureau of Prisons: confinement at FCI Coleman, Florida


-
X The defendant is remanded to the custody of the United States Marshal.
    The defendant shall surrender to the United States Marshal for this district.

           - at - a.m.1p.m. on -.
           - as notified by the United States Marshal.
- The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.

           - before 2 p.m. on -.
           - as notified by the United States Marshal.
           - as notified by the Probation or Pretrial Services Office.




                                                                        RETURN

           I have executed this judgment as follows:




           Defendant delivered on                                                   to

-     at                                                                            , with a certified copy of this judgment.


                                                                                           United States Marshal

                                                                            By :
                                                                                           Deputy United States Marshal
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A 0 245B (Rev. 06/05) Sheet 3 - Supervised Release (Judgment in a Criminal Case)

Defendant:            BRYAN TIMOTHYLEENARD SMITH                                                                  Judgment - Page 4 of 6
Case No. :            8:05-cr-527-T-23MAP
                                                             SUPERVISED RELEASE

        Upon release from imprisonment, the defendant shall be on supervised release for a term of THIRTY-SIX (36) MONTHS
as to Counts One, Six, Seven, Nine, Ten, Eleven, and Twelve of the Superseding Indictment; all such terms to run concurrently.

        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

         While on supervised release, the defendant shall not commit another federal, state, o r local crime, and shall not possess a
firearm, ammunition, or destructive device as defined in 18 U.S.C. 5 921.

X          The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a
           controlled substance. Based on the probation officer's determination that additional drug urinalysis is necessary, the Court
           authorizes random drug testing not to exceed 104 tests per year.

X          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk
           of future substance abuse.

X          The defendant shall cooperate in the collection of DNA as directed by the probation officer.

           If this judgment imposes a fine or restitution it is a condition of supervised release that the defendant pay in accordance with
           the Schedule of Payments sheet of this judgment.

           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
           conditions on the attached page.

                                              STANDARD CONDITIONS OF SUPERVISION
           the defendant shall not leave the judicial district without the permission of the court or probation officer;

           the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each
           month;

           the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

           the dcfendant shall support his or her dependents and meet other family responsibilities;

           the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;

           the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

           the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
           substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

           the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

           the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the probation officer;

           the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation officer;

           the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

           the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and

           as directed by the probation officer, the dcfendant shall notify third parties of risks that may be occasioned by the defendant's criminal record
           or personal history or characteristics and shall permit the probation officer to make such notifications and to confirmthedefendant's compliance
           with such notification requirement.
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A 0 245B (Rev 06/05) Sheet 5 - Criminal Monetary Penalties (Judgment in a Criminal Case)

Defendant:           BRYAN TIMOTHYLEENARD SMITH                                                         Judgment - Page 5 of 6
Case No.:            8:05-cr-527-T-23MAP

                                                 CRIMINAL MONETARY PENALTIES

           The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                Assessment                                  Fine                        Total Restitution

           Totals:              $700.00                                     $ waived                    $32,035.00


-          The determination of restitution is deferred until -.                       An Amended Judgment in a Criminal Case ( A 0 245C) will
           be entered after such determination.
-          The defendant must make restitution (including community restitution) to the following payees in the amount listed
           below.
           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
           specified otherwise in the priority order or percentage pa ment column below. However, pursuant to 18 U.S.C. 5
           3664(i), all non-federal victims must be paid before the dnited States.


Name of Payee                                         Total Loss*                      Restitution Ordered               Priority or Percentage
Suvi Cyriac                                                                            $ 31,645.00

Circle K Co oration
               ?
4300 James avage Rd.
Midland, MI 48642



                                Totals:               L                                $ 32,035.00


 -          Restitution amount ordered pursuant to plea agreement $
 -          The defendant must pay interest on a fine or restitution of more than $2,500, unless the restitution or fine is paid in full
            before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment optlons on Sheet
            6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).
 -          The court determined that the defendant does not have the ability to pay interest and it is ordered that:
           -          the interest requirement is waived for the                fine       - restitution.
           -          the interest requirement for the               fine          restitution is modified as follows:


* Findings for the total amount of losses are required under Cha ters 109A, 110, llOA, and 113A of Title 18 for the offenses
committed on or after September 13, 1994, but before April 23, 1896.
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A 0 245B (Rev 06/05) Sheet 6 - Schedule of Payments (Judgment in a Criminal Case)

Defendant:            BRYAN TIMOTHYLEENARD SMITH                                           Judgment - Page 6of 6
Case No. :            8:05-cr-527-T-23MAP


                                                          SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

                      Lump sum payment of $ 700.00 (special assessment) due immediately, balance due
                                 -not later than                         , Or
                                 -in accordance - C, - D, - E or - F below; or
                      Payment to begin immediately (may be combined with -C , -D, or -F below); or
                      Payment in equal                  (e.g., weekly, monthly, quarterly) installments of $             over a
                      period of          (e.g ., months or years), to commence              days (e.g., 30 or 60 days) after the
                      date of this judgment; or
                      Payment in equal                (e.g ., weekly, monthly, quarterly) installments of $               over a
                      period of
                                   , (e.g., months or years) to commence                      (e.g. 30 or 60 days) after release
                      from imprisonment to a term of supervision; or
                      Payment during the term of supervised release will commence within                          (e.g., 30 or
                      60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                      the defendant's ability to pay at that time, or
                      Special instructions regarding the payment of criminal monetary penalties:
                      RESTITUTION: $32,035.00. While in the Bureau of Prisons custody, the defendant shall either ( I ) pay
                      at least $25 quarterly if the defendant has a non-Unicor job or (2) pay at least 50% of his or her monthly
                      earnings if the defendant has a Unicor job. Should the defendant be released from custody, the defendant's
                      financial circumstances will be evaluated, and the Court may establish a new payment schedule accordingly.
                      At any time during the course of post-release supervision, the victim, the government, or the defendant,
                      may notify the Court of a material change in the defendant's ability to pay and the Court may adjust the
                      payment schedule accordingly.
Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
  enalties is due during ~mprisonment. All criminal monetary penalties, except those payments made through the Federal
i u r e a u of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
X          Joint and Several
           Defendant, Bryan TimothyLeendard Smith (2), Case No. 8:05-cr-527-T-23MAP, $32,035.00
           Co-defendant, Jarnail James Hogan (I), Case No. 8:05-cr-527-T-23MAP, $32,035.00

-          The defendant shall pay the cost of prosecution.
-          The defendant shall pay the following court cost(s):
-          The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
